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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     Chapter 11
In re:
                                                                     Case No. 23-11131 (TMH)
AMYRIS, INC., et al.,
                                                                     (Jointly Administered)
                                                    1
                                         Debtors.
                                                                     Re: D.I. 934


 GINKGO BIOWORKS, INC.’S (I) OBJECTION TO THE FIFTH OMNIBUS MOTION
FOR THE ENTRY OF AN ORDER (A) AUTHORIZING REJECTION OF EXECUTORY
 CONTRACTS EFFECTIVE AS OF THE APPLICABLE REJECTION DATE AND (B)
 GRANTING RELATED RELIEF; AND (II) NOTICE OF CONDITIONAL ELECTION
        PURSUANT TO SECTION 365(n) OF THE BANKRUPTCY CODE

          Ginkgo Bioworks, Inc. (“Ginkgo”) respectfully submits this (i) objection (the “Objection”)

to the Fifth Omnibus Motion for the Entry of an Order (A) Authorizing Rejection of Executory

Contracts Effective as of the Applicable Rejection Date and (B) Granting Related Relief filed by

Debtors (the “Motion”); and (ii) notice of its conditional election (the “Election”) pursuant to 11

U.S.C. § 365(n) to retain any and all of its rights to the intellectual property licensed to Ginkgo by

Amyris, Inc. (“Amyris”) under the Partnership Agreement dated October 20, 2017 by and between

Ginkgo and Amyris (the “Partnership Agreement”).

         1.       On August 9 and August 21, 2023, the Debtors filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code. Since their bankruptcy filings, the Debtors have operated

their businesses pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         2.       On December 18, 2023, the Debtors filed the Motion by which they seek to reject

the Partnership Agreement, among other executory contracts. The Debtors assert that the contracts

they seek permission to reject include “service agreements, license agreements, and supply


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 A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’ claims
and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place of business
and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100, Emeryville, CA 94608.

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agreements, which the Debtors do not require for their go-forward operations and that are otherwise

burdensome to the Debtors’ estates.” (Mot. ¶8.) The Motion does not contain any specific reasons

why the Partnership Agreement, which includes cross-licenses of valuable intellectual property to

Ginkgo and the Debtors, is burdensome to the Debtors’ estates or should otherwise be rejected.

                  A.      The Partnership Agreement

                                   1. License to Ginkgo

        3.        Ginkgo and Amyris entered into the Partnership Agreement as of October 20, 2017.2

        4.        In Section 2.2(a) of the Partnership Agreement, Amyris granted Ginkgo “a royalty-

free, fully paid-up, sublicensable, non-exclusive, perpetual . . . license under any of the Amyris

Transferred Intellectual Property that is owned or Controlled by Amyris to make, have made, use,

sell, offer to sell and import any products other than farnesene and/or farnesene derivatives that are

chemically produced from farnesene[.]”3 Amyris Transferred Intellectual Property is defined in

Article I of the Partnership Agreement as follows:




        5.        Exhibit Y to the Partnership Agreement contains a list of biomaterials identified by

specific codes. Ginkgo’s fully paid-up license is not limited to these biomaterials, but also includes,



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  The Partnership Agreement is subject to certain confidentiality requirements and is therefore not attached. Although
the Debtor is presumably in possession of the Partnership Agreement, a copy will be separately emailed to Debtor’s
counsel for convenience. Additionally, a copy will be provided to any interested party upon request but subject to the
Debtor’s consent or applicable court order.”
3
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Partnership
Agreement (as defined herein).
                                                          2

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“with regards to patents and patent applications with Intellectual Property, such patents and patent

applications that claim material transferred by Amyris to Ginkgo and listed in Exhibit Y.”

                                 2. License to Amyris

        6.        Under Section 2.2(b) of the Partnership Agreement, Ginkgo granted Amyris a

royalty-free, fully paid-up, sublicensable, non-exclusive, perpetual license under any of its Ginkgo

Transferred Intellectual Property. Ginkgo Transferred Intellectual Property is defined in Article I

of the Partnership Agreement and “means any Intellectual Property associated with the materials

transferred by Ginkgo to Amyris and listed on Exhibit Z, including any associated know-how

and/or documentation (such as SOPs) transferred prior to the Effective Date.”

        7.        The biomaterials listed on Exhibit Z of the Partnership Agreement, also identified

with codes, are primarily metagenomically sourced sequences of two enzymes in the vanillin

biosynthesis pathway, O-methyl transferases (OMTs) and aromatic carboxylic acid reductases

(ACARs).

        8.        Further, Articles III and IV of the Partnership Agreement contain provisions

governing a certain “Vanillin project” between Ginkgo and Amyris. (Partnership Agreement §

3.1.) As part of this project, Amyris was permitted to use Ginkgo Transferred Intellectual Property

to develop and commercialize vanillin. Section 4.1(b) of the Partnership Agreement entitles

Ginkgo to a 50% share of Amyris’s Net Profits from vanillin: “Net Profits for Vanillin will be

allocated fifty (50%) percent to each of Amyris and Ginkgo. Amyris shall pay such Net Profits

allocable to Ginkgo on a quarterly basis.”

        9.        Article I of the Partnership Agreement defines “Net Profits” as follows:




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                  B.     The Motion to Reject the Partnership Agreement Should Be Denied

         10.      Ginkgo has reason to believe that the Debtors are continuing to benefit from the

license granted under Section 2.2(b) of the Partnership Agreement to use Ginkgo Transferred

Intellectual Property. For example, the following publicly available bill of lading suggests that

the Debtors have been, and may still be, supplying Givaudan with vanillin:




        11.       Amyris has filed patents that disclose and include some of the metagenomically

sourced enzymes licensed by Ginkgo to Amyris. These patent disclosures by Amyris provide

Amyris with a competitive advantage in vanillin bioproduction, as other market entrants are likely

to be inhibited by Amyris’s vanillin-related patent estate. See, e.g., WO2022198088A1 and

WO2022060867A1 (disclosing, among other things, OMT enzymes sourced from the organisms Cicer

arietinum, Medicago truncatula, Osmerus mordax, Phoenix dactylifera, Setaria italica, and Tuber

melanosporum, along with a host of ACAR enzymes) (italics added). Since Ginkgo maintained the

utility of these enzymes as trade secrets, Amyris’s conduct in publishing them to the world
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appropriated the benefits entirely from Ginkgo to Amyris. By virtue of their publication, their value

cannot be returned to Ginkgo, except via the Partnership Agreement’s required payments from

Amyris’s vanillin sales.

        12.       The Debtors, including Amyris, have not proffered any payments to Ginkgo for its

share of the Net Profits from any such sales of vanillin. If the Partnership Agreement were rejected,

Ginkgo’s rejection damages would include any unpaid Net Profits due to Ginkgo.

        13.       Once the Debtors published and appropriated Ginkgo’s metagenomically sourced

enzymes to themselves, Debtors received value for which they have not yet compensated Ginkgo,

value that will continue through the twenty-year life of the patents filed by Amyris. This

uncompensated, unilateral benefit to Debtors is a fundamental issue, as the Debtors may not reject

a contract and then continue to reap the fruits of that contract while depriving the counterparty of

the benefit of its bargain. An executory contract that benefits a debtor’s business should be

assumed, not rejected. See In re Fleming Cos., 499 F.3d 300, 304 (3d Cir. 2007) (Section 365

allows a debtor-in-possession “‘to maximize the value of the debtor’s estate by assuming executory

contracts . . . that benefit the estate and rejecting those that do not.’”).

        14.       “The ‘business judgment’ test requires a showing that rejection of the executory

contract or unexpired lease will benefit the debtor’s estate.” In re Extraction Oil & Gas, 622 B.R.

608, 614-15 (Bankr. D. Del. 2020). While the business judgment test typically presents a relatively

low bar, the Debtors have failed to make any showing to justify the rejection of the Partnership

Agreement. On the contrary, by virtue of having published Ginkgo’s metagenomically sourced

enzymes to the world, the Debtors realize continuing benefits in the commercial bioproduction of

vanillin. Therefore, the Court should deny the Motion as it applies to the Partnership Agreement.

                  C.     Section 365(n) Election


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        15.       In the event that the Debtors are permitted to reject the Partnership Agreement,

Ginkgo elects pursuant to 11 U.S.C. § 365(n) to retain any and all of its rights under Section 2.2(a)

and other provisions of the Partnership Agreement to the intellectual property licensed by Amyris

to Ginkgo including, without limitation, the rights to a complete duplicate of, or complete access

to any such intellectual property and all embodiments thereof, as provided in Section 2.7 of the

Partnership Agreement.

        16.       “After a debtor rejects a contract under § 365(a), section 365(n) allows the holder

of an intellectual property license to elect to retain its rights under the contract.” In re Spansion,

Inc., 507 Fed. Appx. 125, 128-129 (3d Cir. 2012); see also Apple, Inc. v. Spansion, Inc. (In re

Spansion Inc.), 2011 U.S. Dist. LEXIS 82829, *23-24 (D. Del. July 28, 2011) (citing In re Exide

Techs., 607 F.3d 957, 965 (3d Cir. 2010) (Ambro, J., concurring) (Congress through enacting

§ 365(n) sought “to make clear that the rights of an intellectual property licensee to use the licensed

property cannot be unilaterally cut off as a result of the rejection of the license pursuant to Section

365 in the event of the licensor’s bankruptcy.”); In re Kemeta, LLC, 470 B.R. 304, 329 (Bankr. D.

Del. 2012) (“Under section 365(n), [the licensee] is entitled to full delivery, possession and use of

the scope of [the intellectual property] as set forth in the License Agreement.”).

        17.       Ginkgo reserves all rights with respect to the Partnership Agreement, Motion, these

chapter 11 cases, this Objection, and the Election. Nothing herein is intended as a waiver of any

rights, claims, remedies or defenses held by Ginkgo, all of which are expressly reserved.


Dated: January 2, 2024                        MCCARTER & ENGLISH, LLP


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